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                                                                                                                  _ ________ __
                                                                                                                  ___________



             Case 3:13-cr-00184-MAS               Document 58         Filed 09/14/12       Page 1 of 3 PageID: 145
                                 UNITED           STATEs        DISTRICT          CouRT



                     for the                       District of                         New Jersey

             United States of America                                                    jji       (/               J   )
                                                                          ORDER SETTING CONDITIONS
                    v,                                                             RELEASE
                                                                                         OF


              MARY MANFREDO
                                                                                   Case Number: 12-2574-2
                      Defendant

IT IS ORDERED on this 14TH day of SEPTEMBER, 2012 that the release of the defendant is subject to the following
conditions:
        (1) The defendant must not violate any federal, state or local law while on release.
        (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
            42 U.S.C. § 14135a.
        (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
            any change in address and/or telephone number.
        (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.
                                                         Release on Bond
Bail be fixed at   $___________________
                                           ___
                                                 and the defendant shall be released upon:
        /i                                                        .



          Executing an unsecured appearance bond ( ) with co-signor(s)     .
                                                                                        // 1           ‘
                                                                                                                /



      ( ) Executing a secured appearance bond ( ) with co-signor(s)
          and ( ) depositing in cash in the registry of the Court       of the bail fixed; and/or ( ) execute an
          agreement to forfeit designated property located at
          Local Criminal Rule 46. l(d)(3) waived/not waived by the Court.
      ( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail
          in lieu thereof

                                                 Additional Conditions of Release
Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the
defendant and the safety of other persons and the community, it is further ordered that the release of the defendant is
subject to the condition(s) listed below:

IT IS FUR4R ORDERED that, in addition to the above, the following conditions are imposed:
     ( —)‘ Report to Pretrial Services (“PTS”) as directed and advise them immediately of any contact with law
           e13fercement personnel, including but not limited to, any arrest, questioning or traffic stop.
     ( -1’he defendant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper
          with any witness, victim, or informant; not retaliate against any witness, victim or informant in this case.
     ( ) The defendant shall be released into the third party custody of____________________________________
             who agrees ta,.) to supervise the defendant in accordance with all the conditions ofrelease, (b,) to use evely effort
             to assure the appearance oft/ic defendant at all scheduled court proceedings, and (c) to notify the court
             immediately in the event the defendant violates any conditions of release or disappears.



              Custodian Signature:                                                 Date:
                                                                                                                            P’GE I OF 3


     (i4’ The defendant’s travel is restricted to (              Jersey (ther
                                                                                    unless approved by Pretrial Services (PTS).
     Case 3:13-cr-00184-MAS Document 58 Filed 09/14/12 Page 2 of 3 PageID: 146
(V5    Surrender all passports and travel documents to PTS, Do not apply for new travel documents.
( S)
      substance abuse testing and/or treatment as directed by PTS, Refrain from obstructing or tampering with
    ,,tiistance abuse testing procedures/equipment.
(4’ Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any
      home in which the defendant resides shall be removed by                       and verification provided to PTS.
( ) Mental health testing/treatment as directed by PTS.
( ) }bstain from the use of alcohol.
(4 Maintain current residence or a residence approved by PTS.
( ) Maintain or actively seek employment and/or commence an education prograim-3i ‘i7T13S/’S
( ),. No contact with minors unless in the presence ot a parent or guardian who s a’ are of the present offense
( Ha e no contact ith the follo ing mdix iduals                                                    J I                 ‘


( )   Defendant   is to participate in one of the following home  éonfinement   program  components    and abid&by
      all the requirements of the program which ( ) will or ( ) will not include electronic monitoring or other
      location verification system. You shall pay all or part of the cost of the program based upon your ability to
      pay as determined by the pretrial services  office or supervising officer.


       ( ) (i) Curfew. You are restricted to your residence every day ( )          from          to           or


                ( )   as directed by the pretrial services office or supervising officer;   or


       ( ) (ii) Home Detention. You are restricted to your residence at all times except for employment;
                   education; religious services; medical, substance abuse, or mental health treatment; attorney
                   visits; court appearances; court-ordered obligations; or other activities as pre-approved by
                   the pretrial services office or supervising officer; or
       ( )   (iii) Home Incarceration. You are restricted to your residence at all times except for medical
                   needs or treatment, religious services, and court appearances or other activities pre-approved
                   by the pretrial services office or supervising officer.

( ) Defendant is subject to the following computer/internet restrictions which may include manual
       inspection and/or the installation of computer monitoring sofiware as deemed appropriate by
       Pretrial Services;
       ( ) (i) No Computers - defendant is prohibited from possession and/or use of computers or
                    connected devices.
       ( ) (ii) Computer - No Internet Access: defendant is permitted use of computers or connected
                   devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC
                    Servers, Instant Messaging, etc);
       ( )   (iii) Computer With Internet Access: defendant is permitted use of computers or connected
                   devices, and is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers,
                   Instant Messaging, etc.) for purposes pre-approved by Pretrial Services at
                   { J home [ J for employment purposes.
       ( ) (iv) Consent of Other Residents -by consent of other residents in the home, any computers in
                   the home utilized by other residents shall be approved by Pretrial Services, password
                   protected by a third party custodian approved by Pretrial Services, and subject to inspection
                   for compliance by Pretrial Services.

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(v(Other:
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( 3 Other:

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               Case 3:13-cr-00184-MAS         Document 58        Filed 09/14/12      Page 3 of 3 PageID: 147
                                         ADVICE OF PENALTIES AND SANCTIONS

TO THE flEFENDANT:
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrani
 for your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempi
of court and could result in imprisonment, a fine, or both.
            While on release, ifyou commit a federal felony offense the punishment is an additional prison term of not more
than ten years and for a federal misdemeanor offense the punishment is an additional prison term ofnot more than one year.
This sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal
investigation; tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or
informant; or intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the court, The penalties
for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.
           If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a
sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are
convicted of:
               (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more
                    — you will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
               (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you—




                    will be fined not more than $250,000 or imprisoned for not more than five years, or both;
               (3) any other felony— you will be fined not more than $250,000 or imprisoned not more than two years, or
                    both;
               (4) a misdemeanor you will be fined not more than $100,000 or imprisoned not more than one year, or
                                     —




                    both.
               A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence
you receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                            Acknowledgment of the Defendant

              I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the
penalties and sanctions set forth above.

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                                                                               City and StaW

                                          Directions to the United States Marshal
          The defendant is ORDERED released after processing.
   (      The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge
          that the defendant has posted bond and/or complied with all other conditions for release. If still in custody, the
          defendant must be produced before the appropriate judge at the time and place specified.

 Date:                                                                   1;kc4(,(4.
                                                                        Judicllfzcer ‘s Signature


                                                                         Printed name and title
 (REv. 1/09)
                                                                                                                    PAGE 3 OF 3
